             Case 2:12-cr-00198-MCE Document 1216 Filed 08/11/16 Page 1 of 2


 1   PHILLIP A. TALBERT
     Acting United States Attorney
 2   RICHARD BENDER
     ROGER YANG
 3   KEVIN C. KHASIGIAN
     Assistant U. S. Attorney
 4   501 I Street, Suite 10-100
     Sacramento, CA 95814
 5   Telephone: (916) 554-2700
 6
 7
 8                                IN THE UNITED STATES DISTRICT COURT

 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11
12
13
     UNITED STATES OF AMERICA,                         2:12-CR-00198-MCE
14
                    Plaintiff,
15                                                     STIPULATION AND ORDER REGARDING
            v.                                         REDWOOD CREDIT UNION’S ANCILLARY
16                                                     PETITION
     STEVEN ADGATE, et al.,
17
                    Defendants,
18
19          The United States and petitioner Redwood Credit Union stipulate that Redwood Credit Union
20   has a valid lien holder interest in the 2012 Eliminator Speedster Boat, VIN: ELBA0131G112,
21   California Vessel Number CF0818RR and the 2012 Extreme Carrier Trailer, VIN:
22   5DBUP28381R000028, California License: 4LU8888. The United States and petitioner Redwood
23   Credit Union will enter into a stipulation for Final Order of Forfeiture recognizing Redwood Credit
24   Union’s interest in these assets.
25   ///
26   ///
27   ///
28   ///

                                                          1                            Stipulation and Order
            Case 2:12-cr-00198-MCE Document 1216 Filed 08/11/16 Page 2 of 2


 1          The Stipulation for Final Order of Forfeiture will be filed once Steven Ortega, Jr. has been

 2   sentenced.

 3   Dated: 8/5/2016                                     PHILLIP A. TALBERT
                                                         Acting United States Attorney
 4
 5                                                   By: /s/ Kevin C. Khasigian
                                                        KEVIN C. KHASIGIAN
 6                                                      Assistant U.S. Attorney
 7   Dated: 8/5/2016
 8
                                                          /s/ William J. Portanova
 9                                                       WILLIAM J. PORTANOVA
                                                         Attorney for Petitioner Redwood Credit Union
10
                                                         As authorized via email
11
                                                    ORDER
12
13          IT IS SO ORDERED.
14   Dated: August 10, 2016
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                          2                             Stipulation and Order
